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UNITED STATES DISTRICT COURT

for the

District of Massachusetts

United States of America
V.
Case No.

ALAN JOSEPH 21-CR-4010

Nee ee Ne Ne Ne

Demand for Bill of Particulars
Nature and Cause of Accusation
NOTADISCOVERYMOTION !!!

U.S.Constitution 6thAmendment

Comes now the Accused, ALAN JOSEPH, a lawful de jure, jus sanguinis State Citizen in his own
proper person sui juris pursuant to the unpurviewed 6th Article of the Bill of Rights, the 9th Article of
Amendment to, the Constitution for the United States{1787-1791} and other applicable provisions of
law, to demand of the UNITED STATES ASSISTANT ATTORNEY, named John T. Mulcahy and/or
territorial Attorney General for the UNITED STATES DISTRICT OF MASSACHUSETTS a Bill of
Particulars regarding the nature and cause of the accusations in the hereinabove mentioned citation
21-CR-4010.

This demand is required prior to seeking counsel or proceeding in any other way. This is required in
order that the Accused might be able enter a voluntary, knowing and intelligent plea to the charges,
or some other alleged commercial crimes, in order that I will be able to decide if or what type of
counsel I shall seek, if any, and in order put on a meaningful and substantive defense to the charges
therein. I reserve all of my inalienable rights to in not be deprived of life, liberty, or property without
judicial process, and to avoid being subjected to a Bill of Attainder or a Bill of Pains & Penalties, per
Article I, Section 9 orl0, as the case may be, of the Constitution for the United States {1787-1791},
and/or be caused to lose my own court per the Magna Charta, Article 34.

In the alternative, if not supplied complete point by point answers to this demand within 14 days
of receipt of this notice, the Accused will expect a written notice of dismissal of all charges with
prejudice, and a written order to UNITED STATES ASSISTANT ATTORNEY, named John T.
Mulcahy, and a written order to to cease and desist all activities pursuant to this Case No. 21-CR-
4010. This stands as an order to my public servants. I cannot proceed further with entering a
plea at this time and I revoke, recent, (and do not consent to and withdraw any plea entered
without having full disclosure of the nature and the cause as these answers will reveal) until these
detail nature and cause and due process questions are answered in a way I can understand them

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with or without counsel. I therefore declare jurisdiction is challenged at this time and I do not
agree to proceed, until jurisdiction is proven on the record, and with these questions answered
point by point.

To this end, the following questions are specifically posed, and each requires a specific answer before I
can proceed further in this matter or even determine if in fact | understand the nature and cause, or if I
need to seek and pay for counsel, or determine what Constitutional protecting counsel I may seek. This
is not an exhaustive list:

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What is the jurisdiction and venue of the alleged causes of action in the instant citation? Keep
firmly in mind those mentioned in Article III of the Constitution for the United States {1787-
1791} -- (see e.g. US v Hudson 7 Cranch 32).

What provision(s) of the Constitution for the United States confers authority to proceed in this
jurisdiction?

In what way does the “person” of the Accused attach to the statute(s) sought to be enforced
against him/her?

Does the word “person” mean the same thing in the statute(s) allegedly violated as it does in
Sec. 1 of the NON-existent 14th war “amendment”, e.g. a “corporation”; IF not, why not ?

If so, where are the Articles of Incorporation for Petitioner, and has Petitioner's Designated
Agent for Service of Process been served?

Produce a copy of the alleged Birth Certificate of Petitioner issued by any agency of
government, noting if this Birth Certificate has been 'monetized', most particularly with a
CUSIP number, UCC and/or UPN code, by at least the US Department of Labor; if so, then the
only 'relationship' Petitioner has is that of a name holder, thus the OWNER of such Birth
Certificate is the RESPONSIBLE party who is subject to prosecution in the instant case for at
least any and all commercial 'crime(s)' as have been charged in the instant case. I am obviously
not that liable person.

Is there a right to assistance of counsel (and needs to be effective) in the instant case? If so what
provision of the Constitution for the United States secures such a right?

Is there a right to a trial by jury according to the course of the common law, or In Re Eric Jones:
Demand for Bill of Particulars Case No. W017D2115DR: Page 2 of 10 otherwise, in the instant
case and, if so, secured by what provision(s) of the Constitution for the United States {1787-
1791}?

From what pool(s) are members of Grand or petit juries summoned and do these juries function
at common law? If not, pursuant to what law do they function?

Given that the current jurisprudence of the supreme Court seems to say that there are NO limits
on the commerce clause powers of Congress (Wickard v Filburn 317 US 111 — notwithstanding
the later decision in US v Lopez 514 US 549), that the Court has ruled that these commerce
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clause powers are “closely associated with the admiralty jurisdiction” (NJ Steam v Merchants ©
Bank 6 How. 344), that admiralty was decried by the Colonists as a “jurisdiction foreign to our
Constitution and unacknowledged by our laws” (Declaration of Independence) and that judicial:
Courts of common law general jurisdiction are constitutionally barred from exercising
admiralty, what is the factual foundation and legal basis for the trial “court” in the instant case
to exercise this jurisdiction?

Who is the alleged injured party or what constitutes the corpus delicti/scienter of the alleged
“crime” and what loss of life, liberty, or property is purportedly alleged in the charges/citation
as having been caused by the Accused? Be specific, with names of the accusers.

With NO provision of the bastardized version of the Constitution for the United States
allegedly currently in effect providing for process being in the name of the “United States of
America”, on what authority are you proceeding to act to represent “United States of
America” /aka/ “ratification of commencement” --FRCP 17?

What constitutes the consent of the governed {See e.g. Declaration of Independence 1776} of
any member of the de jure Body Politic to be regulated other than by the common law of
England?

What are each and every one of the elements of the “crime(s)” which the prosecution has to
prove, and what are the definitions of any words and phrases in any alleged statutory acts, most
particularly if different from the meanings of such words in everyday usage?

What is the definition of “scienter”, most particularly in any allegedly applicable statute in
which “willfulness” is an element, concentrating here on the “violation of a known legal duty”,
and this applies a fortiori with a willful failure to “pay” any amounts due in UNDEFINED
“dollars” and/or any willful failure to appear in a “Court” which the UVOPPOSED record has
established is proceeding coramn non judice WITHOUT any jurisdiction al all?

What is the nature of the instant action?
[] criminal

[] civil

[] quasi-criminal

[] “other”

What is the level of burden of proof necessary to get a “conviction”?
[] Beyond a reasonable doubt

[] Clear and convincing

[] Preponderance of evidence

[] NONE

What is the factual foundation and legal basis to support this 'choice'? (check all boxes that
apply)

[] The nominal Plaintiff is “United States of America”, yet the Constitution for the United
States allegedly currently in effect makes NO mention of who the “United States of America”
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are AND no mention of any authority for process to issue in the name of the “United States of
America”. Accordingly, a factual foundation and legal basis is essential to establish both the
Plaintiff and the alleged injured party to invoke at least the undisputed Right to confrontation
and cross-examination;

[] IF the nominal Plaintiff is the “United States of America”, then Article III, Section 2 of the
Constitution for the United States provides, in relevant part here “... and in ALL cases in which
the United States of America shall be a party, the supreme Court shall have original

jurisdiction”; how can the trial “court” possibly have any jurisdiction in the instant case at all
here?

[] The 'law(s) attempted to be enforced here, either overtly in a criminal setting or in quasi-civil
cases, are purportedly promulgated in the name of the “United States of America” who are not
only NOT defined anywhere in the Constitution for the United States (1879), but such 'laws'
are, for all apparent intents and purposes, Bills of Attainder which are flatly prohibited by at
least Article I, Section 9 or 10 , as the case may be, of the Constitution for the United States
{1787-1791}; how can any such allegedly applicable laws be applied in the instant case?

What form of payment is accepted to “pay” the fine or, more accurately, to discharge the
obligation for any fine and in what jurisdiction does such medium circulate ?

If an offer of discharge of the obligation for the fine is made, will the person accepting such
offer be prepared to sign a receipt/declaration, under penalty of perjury, that binds the State or
United States and estops it from bringing further suit against the Accused for “willfully” not
paying the fine?

What is a CUSIP number and how is it related to the case?

. What is the CUSIP number assigned to this case number and/or an IRS 1040 and/or 109901D

Form related thereto, and what legal significance do these items have in regards to the instant
case?

. Has this case been “monetized” and, if so, by what agency(ies) and based on what lawful

authority(ies)? I require this for the inspection of IRS CID when I notify them to inform them of
possible tax evasions by the parties participating in this case.

Are other documents, such as marriage licenses, birth certificates, applications for credit,
applications for Social (in)Security, and the like created by individuals also monetized? Are any
or all of these associated with the jurisdiction or profiting of the court or accusers, in any way?

. And if “money”, in the form of debt has thus been created, and created based on the signature of

any man or woman, why is that individual not credited with the creation of such “money/credit”
or, if so credited, into what account is such “money” placed?

Is there in existence an artificial, corporate entity known as “The Superior Court for the
UNITED STATES DISTRICT COURT OF MASSACHUSETTS, or the functional equivalent
thereof?
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27. If so, has this entity been recognized by, among other commercial banking entities, Dun & ~
Bradstreet, pursuant to some or another registration process? :

28. If so, is this entity a “for profit corporation or similar entity”, and what classification does it &
have based on it's Tax ID number issued through the IRS? What is that tax ID number? wd

29. If so, where can documents recording the ‘official’ existence of this entity be obtained and/or
subpoenaed?

30. What is the CRIS number of the trial “court” (Court Registry Investment System), in what
jurisdiction does it operate, and is this court registered in the District of Columbia?

31. What is the D-U-N-S number (Dun and Bradstreet ID No.) for the “court”, and is this number
only available to commercial entities?

32. Is the trial “court” and/or any other purported state court, registered in the District of Columbia
and, if so, on WHAT authority?

33. Is this court an Article I legislative tribunal or an Article IIJ judicial Court?

34. Given that the record will establish that the United States of America is NOT a State admitted
into “this Union”, and thus at best is, a federal (insular) territorial possession, all officers of
such territorial government are required to be appointed by the President, and/or a territorial
Governor appointed by the President; accordingly the Petitioner wishes to be presented with a
certified copy of appointments of ALL 'official' actors in this case along with certified copies of
their Oaths of Office; on request. If necessary, the Petitioner will present a Supplementary Brief
on Admission of New States which, in concert with Petitioners Motion to Dismiss and Brief
on the 14th Amendment, will establish this position;

35. In addition, Petitioner wishes to be presented with certified copies from ALL “official” actors
of their Foreign Agent Registration Statements as mandated under the Foreign Agents
Registration Act of 1938 (FARA) and Form OMB 1124- 0001, along with their Oaths of Office
as mandated by at least 4 USC 101;

36. Pursuant to the Due Process Protection Act, also known as Brady vs Maryland, the accused is
mandatorily entitled to have access to favorable evidence that will exonerate him from the case.
This Act requires the judge at the beginning of every case to submit an order to prosecutors to
disclose to the Accused all “favorable” evidence that is “material” to their case, which can then
be utilized to eliminate the burdensome process to defend the alleged charges, thereby saving
the judicial economy of the court in the process. Has this particular evidence, not to be
construed in any way as a request for discovery by the Accused, been submitted on the record in
the instant case as mandated by Federal Rules of Criminal Procedure 5, and Brady v. Maryland,
373 US. 83 (1963)?

This list of questions shall not be construed to be all-inclusive and any and all other questions
pertaining to this Bill of Particulars are likewise demanded to be answered as well. This is not

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merely a discovery motion but is required prior to proceeding in any way.

Consistent with and pursuant to the obligations of the government relative to the administration of
“criminal” law, the answers to the above questions, in clear and unambiguous terms, will be expected
in a timely manner prior to any attempt at arraignment, consistent with the obligations imposed by the
Constitution for the United States .

It would be well to keep in mind the words of the Supreme Court of the United States regarding the
duties of a public prosecutor:

“The United States Attorney is the representative not of an ordinary party to a controversy, but
of a sovereignty whose obligation to govern impartially is as compelling as its obligation to
govern all; and whose interests, therefore, in a criminal prosecution is not that it shall win a
case, but that justice shall be done. As such, he is in a peculiar and very definite sense a servant
of the law, the twofold aim of which is that guilt shall not escape nor innocence suffers. He may
prosecute with earnestness and vigor -- indeed -- he should do so. But while he may strike hard
blows he is not at liberty to strike foul ones. It is as much his duty to refrain from improper
methods calculated to produce a wrongful conviction as it is to use every legitimate means to
bring about a just one.”

US v Berger 295 US 78

“Decency, security, and liberty alike demand that government officials shall be subjected to the
same rules of conduct that are commands to the citizen. In a government of laws, existence of
the government will be imperiled if it fails to observe the law scrupulously. Our government is
the potent, omnipresent teacher. For good or ill, it teaches the whole people by its example.
Crime is contagious. If the government becomes a lawbreaker, it breeds contempt for law, it
invites every man to become a law unto himself; it invites anarchy. To declare that in the
administration of the criminal law the end justifies the means -- to declare that the government
may commit crimes in order to secure the conviction of a private criminal -- would bring
terrible retribution. Against that pernicious doctrine this Court should resolutely set its face.
Olmstead v US 277 US 438

The US supreme Court has certainly ruled in favor on the need for a Bill of Particulars in the
case of Coffin v US 156 432, noting that:

"It is always open to the defendant to move the judge before whom the trial is had to order the
prosecuting attorney to give a more particular description, in the nature of a specification or bill
of particulars, of the acts on which he intends to rely, and to suspend the trial until this can be
done, and such an order will be made whenever it appears to be necessary to enable the
defendant to meet the charge against him, or to avoid danger of injustice.”

Also from Coffin, and seemingly dispositive pursuant to the Right to Trial by Jury:
"Let all accusers understand that they are not to prefer charges unless they can be proven by

proper witnesses or by conclusive documents, or by circumstantial evidence which amounts to
indubitable proof and is clearer than day."

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Attention is also drawn to the case of US v Smith 776 Fed 2nd 1104 in which the court opined, about
the importance of the Bill of Particulars, that:

“Historically and functionally, the Bill of Particulars is closely related to the indictment. Bills of
Particulars, relative to indictments, have a brief history. Nevertheless, that history closely ties _
the Bill of Particulars to the indictment. Originally, indictments set forth the accusation in great
detail and there was no need for supplementation. The modern trend, however, has been
towards more skeletal accusations (perhaps to conceal martial law jurisdiction ?? -- ed)
combined with procedures providing access to omitted details if the defense has a legitimate
need for them. FRCrP(7)(f) provides the opportunity for such access. That rule authorizes the
court to “direct the filing of a Bill of Particulars”. This is in marked contrast to the provisions of
Rule 16, which authorizes the court to direct that the government “furnish to the defendant
certain items of discovery.”

In addition, with multiple jurisdictions existing pursuant to at least federal law, the matter of
jurisdiction and venue is a prime issue, if timely challenged, as stated in U.S. v Tully 140 Fed. Rptr.
899,905:

“Tt is unfortunate that a murderer should go unwhipped of justice but it would be yet more
unfortunate if any court should assume to try one charged with a crime without jurisdiction over
the offense.”

Please address all correspondence to me at my address exactly as it appears in the record of the Court.
All rights are reserved to return unopened any and all correspondence with a Zip Code absent clear and
compelling authority for its use, as being improperly addressed to an artificial corporate entity
“residing” in a federal regional martial law and/or commercial jurisdiction and venue (see e.g. 26 USC
7408(d)), as opposed to a freeman domiciled in a State judicial district in a State admitted into “this
Union”.

QB
Z YE A Dated: March 18, 2021

Alan Joseph

In Propria Persona Sui Juris
57 Salem Street

Fitchburg, MA

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